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Patrick J. Geile, ISB No. 6975
CHAPTER 7 BANKRUPTCY TRUSTEE
PO Box 925
Meridian, ID 83680
Telephone: (208) 947-1575

                           UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

In Re:                                                  Case No. 21-00744-NGH
                                                        Chapter 7
Vega, Brenda
                                                        TRUSTEE’S OBJECTION TO
                        Debtor.                         EXEMPTION


NOTICE OF OBJECTION TO EXEMPTION AND OPPORTUNITY TO OBJECT AND
FOR A HEARING

No Objection. The Court may consider this request for an order without further notice or hearing
unless a party in interest files an objection within 14 days of the date of service of this notice.

If an objection is not filed within the time permitted, the Court may consider that there is no
opposition to the granting of the requested relief and may grant the relief without further notice or
hearing.

Objection. Any objection shall set out the legal and/or factual basis for the objection. A copy of the
objection shall be served on the movant.

Hearing on Objection. The objecting party shall also contact the court’s calendar clerk to schedule
a hearing on the objection and file a separate notice of hearing.

         TO THE ABOVE-NAMED COURT, THE DEBTOR AND DEBTOR’S ATTORNEY:

                                               NOTICE

       YOU ARE HEREBY NOTIFIED that the Trustee of the above estate objects to the
following exemption(s) claimed by the debtor(s) in this proceeding:

                         Asset                               Specific Law Value of Exemption
     Refundable Tax Credits                                  11(603) (4)  $3,300.00

         The Refundable Tax Credit is not a tax credit exempt pursuant to Idaho Code 11(603)(4).

        YOU ARE FURTHER NOTIFIED that the Trustee will ask the Court to grant an Order
sustaining the objection(s) without further hearing unless a written reply to the Trustee’s
objection is filed in duplicate within fourteen (14) days from the date this objection is mailed.

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File the original (1) with the U.S. Bankruptcy Court, 550 W. Fort St., Boise, ID 83724; and (2) a
copy with the Trustee. A written response to the Trustee’s objection must be set for hearing and
notice thereof mailed to parties in interest.

                                         OBJECTION

         For the aforementioned reasons, the Trustee objects to the Debtor’s claim of exemption in
its entirety.

 Date: February 24, 2022                             /s/ Patrick J. Geile
                                                     Chapter 7 Bankruptcy Trustee




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                                 CERTIFICATE OF SERVICE
               I hereby certify that on this date as indicated below, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which sent a Notice of
Electronic Filing to the individuals so noted below. I further certify that, on the same date, I
have mailed by United States Postal Service the foregoing document to the following non-
EM/ECF Registered Participant(s) either listed below or on an attached list.

*Electronic Notification

US Trustee (ustp.region18.bs.ecf@usdoj.gov)

Holly E. Sutherland (holly@averylaw.net)

Served by U.S. MAIL

Vega, Brenda
3120 Hyde St
Caldwell, ID 83605

                                                      /s/ Patrick J. Geile
                                                      Date: February 24, 2022




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